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                 United States Court of Appeals
                                  For the Seventh Circuit
                                  Chicago, Illinois 60604



                                     September 7, 2023



By the Court:




No. 23-2557
                                                   Appeal from the United
UNITED STATES OF AMERICA,                          States District Court for
         Plaintiff - Appellee,                     the Northern District of Illinois,
                                                   Eastern Division.
          v.
                                                   No. 1:20-cr-00309-1
LARRY JONES,
         Defendant - Appellant.                    Virginia M. Kendall,
                                                          Judge.

                                         ORDER

        On consideration of the Status Report filed by Phillip Turner on September 5,
2023,

       IT IS ORDERED that attorney Turner file, on or before September 20, 2023, a
further status report regarding the filing and disposition of defendant’s motion to
proceed on appeal in forma pauperis.

      If the district court has not issued its ruling, counsel should inquire of the district
judge when a ruling is expected.

        Briefing shall continue to be SUSPENDED pending further court order.
